                                            Case 09-34784-sgj7                   Doc 1329 Filed FORM
                                                                                                  07/29/22
                                                                                                       1
                                                                                                             Entered 07/29/22 11:15:47                                               Desc
                                                                                      Main Document      Page 1 of 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                               Page:        1
                                                                                                            ASSET CASES
Case No:             09-34784       SGJ    Judge: STACEY G. JERNIGAN                                                                            Trustee Name:                       DANIEL J. SHERMAN, TRUSTEE
Case Name:           ONDOVA LIMITED COMPANY                                                                                                    Date Filed (f) or Converted (c):     02/19/16 (c)
                                                                                                                                               341(a) Meeting Date:                 04/06/16
For Period Ending: 06/30/22         (7th reporting period for this case)                                                                       Claims Bar Date:                     07/05/16



                                       1                                                    2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. FUNDS FROM CHAPTER 11 (u)                                                                    0.00                         737,984.76                                           737,984.76                     FA


 2. REMAINING DOMAIN NAMES (u)                                                                   0.00                            100.00                                                  0.00                            100.00

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                              $0.00                        $738,084.76                                          $737,984.76                           $100.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   TRUSTEE EMPLOYED DAMON NELSON TO SELL THE LAST 3 DOMAIN NAMES. MOTION TO SELL FILED AND AWAITING ENTRY OF ORDER.
   ESTIMATED DATE OF TFR IS 10/31/2022


   Initial Projected Date of Final Report (TFR): 05/01/17            Current Projected Date of Final Report (TFR): 10/31/22




LFORM1                                                                                                                                                                                                                            Ver: 22.06b
